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                       United States District Court
                  for the Southern District of New York

Nicholas Magalios,

                     Plaintiff,
                                             Docket No. 7:19-cv-06188 (CS)
     v.

C.O. Mathew Peralta,
C.O. Timothy Bailey,
and C.O. Edward Blount,

                     Defendants.




     MEMORANDUM OF LAW IN OPPOSITION TO
    DEFENDANTS’ MOTION FOR A NEW TRIAL OR
      REMITTITUR OF THE DAMAGES AWARD
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                         United States District Court
                    for the Southern District of New York

 Nicholas Magalios,
                                                    Docket No. 7:19-cv-06188 (CS)
                      Plaintiff,

       v.                                     Memorandum of Law in Opposition to
                                              Defendants’ Motion for a New Trial or
 C.O. Mathew Peralta,                          Remittitur of the Damages Award
 C.O. Timothy Bailey,
 and C.O. Edward Blount,

                      Defendants.


                           PRELIMINARY STATEMENT

      Plaintiff submits this memorandum of law in opposition to defendants’

motion pursuant to Fed R. Civ. P. 59 for a new trial or a remittitur of the jury’s

punitive damages awards. Plaintiff respectfully requests that defendants’ motion be

denied in its entirety.


      For the purposes of this motion, plaintiff assumes this Court’s familiarity

with the facts underlying this trial. Nevertheless, plaintiff feels constrained to

highlight certain salient factors that justify the jury’s awards.


      Defendants, with no legitimate penological purpose, collectively engaged in

what properly can be considered a malicious and premeditated “gang assault” of a

prisoner under their care, custody, and control. Two of the defendants, Peralta and

Bailey, were not even assigned to the strip-frisk area where the assault took place,

and therefore would have had to have purposely left their assigned posts before the
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end of the visiting period and entered the strip-frisk area with the express intention

of assaulting plaintiff. As further evidence of their premeditation, immediately prior

to the assault, defendants removed from the area any other inmates so as not to

have any eyewitnesses, and then directed those inmates to stand with their faces

against the wall. Defendants then not only denied altogether having used any force

against plaintiff, and falsely accused plaintiff of having fabricated the entire

incident, but also subsequently threatened plaintiff and taunted him by reminding

him of the brutal and humiliating ordeal to which they subjected him.


      During the trial of this action, defendants continued their offensive behavior

by laughing and snickering among themselves and, in one case, hurling a profanity

at plaintiff from the witness stand. Such conduct demonstrates a complete lack of

remorse for the underlying incident, and further indicates that being named as

defendants in this lawsuit and being subjects of an investigation by the DOCCS

Office of Special Investigation has not chastened defendants nor likely deterred

them from engaging in similar conduct in the future. For that reason, the jury’s

award of substantial punitive damages not only is justified, but also is necessary to

deter defendants from repeating such reprehensible conduct.




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      Defendants’ sole argument in this post-trial motion is that the punitive

damages awards are unsupported by the evidence and excessive in light of the so-

called Gore factors. 1 This argument fails for several reasons.


      First, it is clear from the record that defendants’ conduct was highly

reprehensible. Indeed, defendants committed precisely the kind of flagrant

misconduct against plaintiff that courts consider en route to sustaining significant

punitive damages awards. Second, the jury’s punitive damages award is not so

disproportionate to the compensatory damages award as to require a reduction of

the punitive damages. Courts have long recognized that there is no bright-line rule

with regard to the ratio between punitive and compensatory damages awards;

similar awards have therefore been sustained before. Third, there also exist

comparable civil and criminal penalties which justify the awards. Finally, there

exist other factors ancillary to Gore which bear on the purpose and propriety of

punitive damages, including but not limited to the vindication of the public interest

and defendants’ complete lack of remorse for their conduct.




1 As defendants point out, see Defendants’ Motion, at p. 5, the Gore guideposts
include “(1) the degree of reprehensibility of the tortious conduct; (2) the ratio of
punitive damages to compensatory damages; and (3) the difference between this
remedy and the civil penalties authorized or imposed in comparable cases.” Lee v.
Edwards, 101 F.3d 805, 809 (2d Cir. 1996) (citing BMW of North America, Inc. v.
Gore, 517 U.S. 559, 575 (1996)).
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                                    ARGUMENT

I.    Defendants’ Conduct was Reprehensible

      “The degree of reprehensibility is ‘[p]erhaps the most important indicium of

the reasonableness of a punitive damages award.’” Jennings v. Yurkiw, 2018 U.S.

Dist. LEXIS 186602, at *49 (E.D.N.Y. 2018) (quoting Gore, 517 U.S. at 575).

“Conduct marked by violence is more reprehensible than conduct that does not

involve violence.” Cabral v. City of New York, 2015 U.S. Dist. LEXIS 105392, at *18

(S.D.N.Y. 2015) (citing Gore, 517 U.S. at 575). The same holds true for deceit. See

id. “This principle reflects the accepted view that some wrongs are more

blameworthy than others.” Id. In assessing the reprehensibility of a defendant’s

actions, courts should consider certain aggravating factors, such as “(1) whether a

defendant’s conduct was violent or presented a threat of violence, (2) whether a

defendant acted with deceit or malice as opposed to acting with mere negligence,

and (3) whether a defendant has engaged in repeated instances of misconduct.” Lee,

101 F.3d at 809 (citing Gore, 517 U.S. at 574). Viewed in light of those factors,

defendants’ actions were clearly highly reprehensible.


      A.     Violence

      Defendants’ argument that the punitive damages award is grossly excessive

compared to the reprehensibility of defendants’ conduct is without merit in light of

the testimony and evidence elicited at trial. In their brief, defendants make two

primary arguments for why the attack on plaintiff was not “malicious”: first, they

claim that “the only demonstrable injuries sustained by Plaintiff were a few red


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marks, minor injuries that hardly speak of a malicious assault…”; second, they

claim that “there is no evidence that Defendant Blount physically assaulted

Plaintiff or that he did, in fact, have time to intervene to stop any alleged assault.”

See Defendants’ Motion, at p. 6. Putting aside that there is not always a correlation

between the evil intent behind a malicious attack and the eventual injuries a victim

suffers, defendants’ claims are demonstrably false.


      A shoulder injury requiring surgery is not a minor injury akin to a “red

mark[].” Defendants shrug off this reality by burying, in a footnote, the claim that,

“while Plaintiff alleged that he suffered a permanent shoulder injury necessitating

surgery and the need for continual pain medication, this argument was apparently

rejected by the jury based on the $50,000 compensatory damages award and

plaintiff’s own testimony…” See Defendants’ Motion, at p. 6, n.2. However, absent

special interrogatories, defendants’ argument that the jury rejected any correlation

between plaintiff’s shoulder injury and his subsequent surgery is nothing more than

unsupported conjecture; it also disregards the rule that on a motion for remittitur,

the court must review the evidence in the light most favorable to the plaintiff and

give him the benefit of all reasonable inferences that may have been drawn from the

jury. See Ginsberg v. Valhalla Anesthesia Assocs., P.C., 1997 U.S. Dist. LEXIS

16681, at *3 (S.D.N.Y. 1997). Here, there was more than ample evidence in the form

of plaintiff’s testimony, see Trial Transcript (hereinafter “Transcript”), at 180:7-20,

and in the form of expert testimony, see id. at 216:19-25, attributing plaintiff’s

shoulder pain and need for shoulder surgery to the violent assault by defendants.


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The jury was able to find, and—plaintiff would submit—almost certainly did find

that plaintiff suffered a serious shoulder injury requiring surgery as a result of

defendants’ reprehensible conduct. The Court should reject defendants’ wishing it

were otherwise. See Wright v. Musanti, 887 F.3d 577, 588 (2d Cir. 2018)

(“[Defendant] asserts that the award of punitive damages was erroneous because

there was no evidence of the requisite ‘high degree of moral turpitude’ required to

impose that sanction…But this unadorned argument is premised on [defendant]’s

version of the facts, which the district court was free to, and did, reject.”).


       Defendants also claim, without citing to the record, that “there is no evidence

that Defendant Blount…ha[d] time to intervene to stop any alleged 2 assault.” This

point fares no better. Trial counsel stipulated to Blount’s presence in the room

where plaintiff alleged the assault occurred, see Transcript, at 55:13-18, which was

confirmed by witness Nicholas Giannini, see id. at 340:13-16, and plaintiff testified

that Blount was present during the assault and did nothing to intervene. See id. at

152:12, 160:8-19, 265:18-20. In any case, it is clear that the jury believed plaintiff

and found that Blount indeed failed to intervene to stop the malicious assault

against plaintiff: 3 Here, again, the jury’s verdict and assessment of the witnesses’

credibility should outweigh defendants’ speculation, which finds no support in the



2Defendants’ argument that defendant Blount did not have time to intervene in an
assault that defendants maintain never happened also is at odds with itself.
3That Blount, who conducted the post-incident strip frisk of a visibly injured
Magalios, did not send plaintiff to the infirmary further demonstrates that Blount
acted in concert with the other defendants in the use-of-force and/or its cover-up.
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record. See, e.g., Metromedia Co. v. Fugazy, 983 F.2d 350, 363 (2d Cir. 1992) (Under

Rule 59, “[w]here the resolution of the issues depended on assessment of the

credibility of the witnesses, it is proper for the court to refrain from setting aside

the verdict and granting a new trial.”).


      B.      Deceit and Malice

      Conspicuously absent from defendants’ papers is an acknowledgment of what

plaintiff, whom the jury deemed credible, testified to concerning what the officers

did do. According to plaintiff, the officers premeditatedly targeted him, removed

from the scene any potential eyewitnesses, and then brutally beat him with no

penological justification. Immediately after the assault, Peralta, in Bailey’s

presence, threatened plaintiff with further harm if he reported the incident. In the

days immediately following the incident, Bailey and Blount taunted plaintiff about

the incident. Defendants also denied having used any force against plaintiff, and

asserted that plaintiff fabricated the story entirely. Accepting plaintiff’s version of

events, the jury certainly was able to find that defendants acted with deceit and

malice.


      This case represents the exact kind of abuse of authority, deceit, and malice

sufficient to warrant punitive damages. See Doe v. Green, 2021 U.S. Dist. LEXIS

82577, at *23 (S.D.N.Y. 2021), report and recommendation adopted, 2021 U.S. Dist.

LEXIS 101560 (S.D.N.Y. 2021) (“[A]s recognized by courts in this Circuit, there is

something particularly reprehensible about a law enforcement officer assaulting an

inmate under his care.”); Mathie v. Fries, 121 F.3d 808, 815, 816-17 (2d Cir. 1997)

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(finding that the prison official’s “abuse of an inmate in his custody was

reprehensible in the extreme” and “an outrageous abuse of power and authority”);

DiSorbo v. Hoy, 343 F.3d 172, 188 (2d Cir. 2003) (“Police brutality cannot be

tolerated in our society, and punitive damages awards serve a critical role in

deterring such misconduct”); Jackson v. Tellado, 2018 U.S. Dist. LEXIS 145339, at

*27-28 (E.D.N.Y. 2018) (noting the “violent and malicious assault” was “wholly

improper behavior for law enforcement officers”); Noonan v. Becker, 2018 U.S. Dist.

LEXIS 60704, at *20 (S.D.N.Y. 2018) (finding police officer’s assault of someone he

arrested to be “egregious misconduct, in breach of the public trust”); see also Lewis

v. City of Albany Police Dep’t, 547 F. Supp. 2d 191, 209 (N.D.N.Y. 2008), aff’d 332 F.

App’x 641 (2d Cir. 2009) (summary order) (sustaining jury’s punitive damages

award in suit against officer for using excessive force in arresting plaintiff, noting

“it is particularly important to further the goal of deterring defendants such as

[officer-defendant] from participating in violations of constitutional rights given

their positions of public trust, as defendant points out, with the socially beneficial

goal of preventing criminal activity.”).


      C.     Repeated Instances of Misconduct

      Defendants argue that the assault was the only interaction between plaintiff

and defendants during which defendants’ conduct could conceivably be considered

reprehensible. However, since “[t]he evidence supporting the first two factors, even

without the third, is sufficient to establish a high degree of reprehensibility” to

recover punitive damages, Alla v. Verkay, 979 F. Supp. 2d 349, 374 (E.D.N.Y. 2013),


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plaintiff is not required to prove that defendants had previously engaged in violent

conduct. This is not to suggest that defendants did not subsequently engage in

misconduct that is worthy of consideration for the purposes of punitive damages.

See discussion infra at Section IV.


II.   The ratio between compensatory and punitive damages is not
      excessive, and other courts have sustained similar awards.

      “As a general rule, punitive damages are within the jury’s discretion and will

not be disturbed unless they are grossly excessive.” Queenie, Ltd. v. Nygard Int’l,

204 F. Supp. 2d 601, 604 (S.D.N.Y. 2002) (citing Roy Export Co. Establishment of

Vaduz, Liechtenstein v. Columbia Broad. Sys., Inc., 672 F.2d 1095, 1106 (2d Cir.

1982)). Moreover, an “award of punitive damages is reversed only when it is so high

as to shock the judicial conscience and constitute a denial of justice.” Hughes v.

Patrolmen’s Benev. Ass’n of City of New York, Inc., 850 F.2d 876, 883 (2d Cir. 1988).

Finally, as acknowledged by defendants, see Defendants’ Motion, at p. 4, “when the

argument for remittitur is that the award is ‘intrinsically excessive,’ but the excess

is ‘not attributable to a discernable error,’ the Court may ‘reduce the award only to

the maximum amount that would be upheld . . . as not excessive.’” Tatum v. City of

New York, 668 F. Supp. 2d 584, 602 (S.D.N.Y. 2009) (quoting Rangolan v. County of

Nassau, 370 F.3d 239, 244 (2d Cir. 2004)).


      A.     Ratio

      Here, the ratio of punitive damages to compensatory damages is not

excessive. There is “no formula by which the finder of fact must determine punitive


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damages.” Wright, 887 F.3d at 588 (citation omitted). The Supreme Court therefore

“ha[s] consistently rejected the notion that the constitutional line is marked by a

simple mathematical formula.” Gore, 517 U.S. at 582. In Payne v. Jones, 711 F.3d

85 (2d Cir. 2013), the Second Circuit noted that the Court in Gore “repeatedly

stressed the impossibility of making any bright-line test, as the propriety of the

ratio can vary enormously with the particular facts of the case,” 711 F.3d at 102

(citing 517 U.S. at 582-83), and that “[i]t is difficult or impossible to make useful

generalizations.” Id. By itself, the ratio does not determine whether the punitive

damages are excessive; the court must consider the context of the case. See Payne,

711 F.3d at 103 (noting that, for example, in certain instances, a 10-to-1 ratio might

be permissible). Relatedly, “[w]hen the compensable injury was small but the

reprehensibility of the defendant’s conduct was great, the ratio of a reasonable

punitive award to the small compensatory award will necessarily be very high.” Id.

at 102; see Thomas v. Kelly, 903 F. Supp. 2d 237, 266 (S.D.N.Y. 2012) (“[T]he

Second Circuit [in Payne] found that the second and third guideposts ‘tell us little

that is useful about the size of the award.’ Rather, the court found that the first

guidepost—the degree of reprehensibility of the defendant’s conduct—to be the most

helpful and important.”).


      In Gore, the Court noted that it had approved a 10:1 ratio in a prior case. See

517 U.S. at 581. In this case, the resulting ratios between $350,000, $350,000, and

$250,000 in punitive damages and $50,000 in compensatory damages are,

respectively, 7:1, 7:1, and 5:1. Moreover, comparing each punitive damages award to


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the total award for compensatory damages, as opposed to each defendant’s pro rata

share, is the approach that was taken by the Southern District of New York in

Bouveng v. Nyg Capital LLC, 175 F. Supp. 3d 280, 347 (S.D.N.Y. 2016).


      Plaintiff acknowledges that the Eighth Circuit in Grabinski v. Blue Springs

Ford Sales, Inc., 203 F.3d 1024 (8th Cir. 2000), cert. denied, 531 U.S. 825 (2000)

calculated the relevant ratios by comparing the individual punitive damages awards

to each defendants’ pro rata share of the compensatory damages award. However,

the court did so only because, in the court’s reasoning, comparing each individual

punitive damages award to the entire compensatory damages award “assumes an

impossibility,…because it posits that each defendant will ultimately pay the full

compensatory damages award” as opposed to the “amount of actual damages

payable by that defendant.” Grabinski, 203 F.3d at 1026. Here, however, since each

defendant will all but certainly be indemnified by the State as to the compensatory

damages award, 4 there will be no “amount of actual damages payable by that

defendant.” Accordingly, the reasoning behind Grabinski should be deemed




4See N.Y. Pub. Off. Law § 17 (“The state shall indemnify and save harmless its
employees in the amount of any judgment obtained against such employees in any
state or federal court, or in the amount of any settlement of a claim, or shall pay
such judgment or settlement…”). In Grabinski, which did not involve defendants
who were public employees, there was no indication that any of the defendants
would be indemnified by any third party for their proportionate share of the
compensatory damages award.


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inapplicable to this case. 5


       Regardless of which method is employed to calculate the ratio of punitive

damages to compensatory damages, the ratio here is not impermissibly high. In that

regard, it is worth noting that in Grabinski, where the court affirmed the punitive

damages awards in their entirety, calculating those awards based on the total

compensatory damages award yielded a 27 to 1 ratio, while calculating the awards

based on a pro rata compensatory damages award—which was the formula

approved by the court—yielded a ratio of 99 to 1 against one of the defendants. Both

of those ratios are higher than the ratios in this case, no matter how the rations

herein are calculated. And while the court in Grabinski characterized the awards as

“generous,” id. at p. 1028, it did not deem them to be excessive.


       Here, the jury knew what it was doing, assigning different awards based on

the defendants’ misconduct, allocating the highest amounts for C.O.s Peralta and

Bailey, who set plaintiff up for the assault and violently punched and kicked him

multiple times, and the lower amount for Blount, who did not participate in the

assault, but stood by and took no steps to intervene. While the jury did not award

plaintiff a six-figure compensatory award, it recognized that defendants’ behavior

was outrageous, awarding punitive damages accordingly.



5While the court in Alla, 979 F. Supp. 2d 349, which was decided before Bouveng v.
Nyg Capital LLC, cited Grabinski in following the formula that uses the defendants’
pro rata shares of the compensatory damages award in calculating the ratio, it did
so without addressing whether any of the defendants would actually be paying
these awards from their own pockets.
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      B.      Similar Cases

      The punitive damages are also not excessive, or unacceptably

disproportionate to the compensatory damages award, when compared with other

cases. Here, the awards range from $250,000 to $350,000, which falls within the

range of other law enforcement officer brutality cases. See Jackson, 2018 U.S. Dist.

LEXIS 145339, at *25 (collecting police misconduct cases ranging in punitive

damages from $157,603.29 to $379,131,68, adjusting for inflation, and further

assessing the various awards individually instead of the higher composite number);

Lewis, 547 F. Supp. 2d at 210 (“this jury’s $200,000 award of punitive damages is

not so grossly excessive as to shock the judicial conscience”) (citations omitted);

Greenaway v. County of Nassau, 327 F. Supp. 3d 552, 571 (E.D.N.Y. 2018)

(upholding the jury’s award of $100,000 per officer and citing cases affirming

awards of $278,000, $200,000, and other six-figure amounts, after adjusting for

inflation); Denman v. Sanders, 2006 U.S. Dist. LEXIS 7612, at *8 (S.D.N.Y. 2006)

(small remittitur of punitive damages award to $267,000, adjusting for inflation,

with $50,000 in compensatory damages awarded to plaintiff punched in head by

non-law-enforcement-officer customer at a store, resulting in bleeding) (emphasis

added); Thomas, 903 F. Supp. 2d at 244, 270 (S.D.N.Y. 2012) (small remittitur of

award of punitive damages to $325,000 in § 1983 case where jury awarded plaintiff

$125,000 in compensatory damages, finding remainder of defendants liable for

using excessive force but awarding plaintiff no compensatory damages and $1 in

nominal damages.); Kennedy v. Supreme Forest Prods., 761 F. App’x 72, 74, 77 (2d

Cir. 2019) (summary order) (small remittitur of punitive damages award to
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$250,000 where jury awarded plaintiff $11,900 in compensatory damages); see also

Blackledge v. Carlone, 126 F. Supp. 2d 224, 225, 228-31 (D. Conn. 2001) (upholding

$40,000 punitive award where compensatory award was $1,000 and officer pepper

sprayed plaintiff, handcuffed plaintiff behind her back and placed her in back of

police cruiser, then sprayed her again.).


      This case is remarkably similar to Anderson v. Osborne, 2020 U.S. Dist.

LEXIS 194371 (S.D.N.Y. 2020), wherein the plaintiff, a state prisoner, was

assaulted by a group of officers in retaliation for refusing to discuss with a sergeant

a statement that the plaintiff made to the Office of Special Investigations; there,

too, the officers completely denied the allegations and claimed that the plaintiff was

the aggressor. Following trial, the jury found for the plaintiff and awarded $75,000

in compensatory damages and $575,000 in punitive damages. Defendants’

subsequent motion for a new trial or remittitur of damages was denied in its

entirety. In his decision, Judge Briccetti observed,


             Clearly, the jury concluded plaintiff was punched, stomped,
             and beaten without provocation. Furthermore, in crediting
             plaintiff’s version of events, the jury plainly discredited the
             defendants’ testimony and other record evidence, and
             concluded defendants lied to cover up their use of
             unprovoked, excessive force against plaintiff, an inmate in
             their charge.

             The jury’s varying punitive damages awards against each
             defendant further demonstrates the jury’s careful
             discrimination as to the evidence, and that the jury
             separately weighed each defendant's conduct in view of his
             individual culpability….[T]he propriety of the ratio can
             vary enormously with the particular facts of the case.


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             Indeed, in cases of very small injury but very reprehensible
             conduct, the appropriate ratios can be very high.


Id., at *22-23 (internal quotation marks and citation omitted). So too here. The jury

discredited defendants’ denials, credited plaintiff’s account, and carefully assessed

their punitive damages awards based on “the extreme reprehensibility of

defendants’ conduct.” Id. In light of the punitive damages awards sustained in

similar cases, the $350,000, $350,000, and $250,000 awards granted by the jury

against defendants Peralta, Bailey, and Blount, respectively, are appropriate and

within constitutional boundaries.


III.   Civil and Criminal Penalties

       The third indicium for evaluating excessiveness calls for comparing the

punitive damages award to the civil or criminal penalties that could be imposed for

comparable misconduct. See Gore, 517 U.S. at 583. “[A] reviewing court engaged in

determining whether an award of punitive damages is excessive should accord

substantial deference to legislative judgments concerning appropriate sanctions for

the conduct at issue.” Id. (internal quotation marks omitted).


       The punitive damages awards against defendants herein are reasonable in

light of the monetary and other severe penalties prescribed by federal and state law

for similar misconduct. See, e.g., 18 U.S.C. § 242 and 18 U.S.C. § 3571 (collectively

authorizing a fine for a criminal violation of civil rights of up to $250,000 if

committed by an individual, and up to $500,000 if committed by an organization);

see also N.Y. Penal Law § 120.07 (gang assault in the first degree is a class B

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felony, punishable by a fine of not more than $5,000 and a prison sentence of

between 5 and 25 years). When examining punitive damages awards, courts in this

circuit have found penalties imposed under federal criminal law statutes for similar

offenses to be a better analytic tool than state penalties because they better reflect

the qualitative difference when the offense in question is an abuse of authority and

because fines associated with state offenses do not provide a useful benchmark for

evaluating punitive damages awards assessed against law enforcement officers. See

Anderson v. Aparico, 25 F. Supp. 3d 303 (E.D.N.Y. 2014), aff’d sub nom. Anderson v.

County of Suffolk, 621 F. App’x 54 (summary order) (2d Cir. 2015). Thus, “[w]here a

jury imposes punitive damages for a violation of § 1983, the penalties imposed

under federal criminal law for a similar offense provide an excellent metric for

evaluation of excessiveness.” Id. at 312 (emphasis added) (finding that under 18

U.S.C. § 242, defendants had “constructive notice that use of excessive force could,

under certain conditions, lead to a fine of up to $250,000.”); see also Dixon v. Agbai,

2016 U.S. Dist. LEXIS 88844, at *27 (S.D.N.Y. 2016), report and recommendation

adopted, 2016 U.S. Dist. LEXIS 134490 (S.D.N.Y. 2016) (finding that the criminal

penalties associated with a New York class D felony “would have given [the

defendant] fair notice that his conduct could subject him to a [$150,000] punitive

damages award.”) Accordingly, since the $350,000, $350,000, and $250,000 punitive

damages awards against defendants Peralta, Bailey, and Blount, respectively, are

within the range of the penalties authorized for felonies under federal law, there are




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no concerns here that the “tortfeasor lacked ‘fair notice’ that the wrongful conduct

could entail a substantial punitive award.” Lee, 101 F.3d at 811.


IV.   Additional factors ancillary to Gore support the punitive damages
      award

      “A jury’s assessment of the extent of a plaintiff's injury is essentially a factual

determination, whereas its imposition of punitive damages is an expression of its

moral condemnation.” Cooper Indus. v. Leatherman Tool Grp., Inc., 532 U.S. 424,

432 (2001). As this Court noted, the jury in this case was clearly disturbed by the

defendants’ conduct. See Transcript, at 623:14-21. It is not a stretch to characterize

their punitive damages awards as an expression of their moral and ethical

condemnation of defendants. That, combined with the public interest undergirding

the purpose of punitive damages, especially in cases involving law enforcement,

weighs against a reduction in the punitive damages award.


      The inquiry also need not end with the jury’s presumptive finding that the

defendants acted reprehensibly within the original meaning of Gore, because Gore’s

progeny has expanded the meaning of reprehensibility beyond violence, callousness,

and deceit. For example, given defendants’ denial that the assault ever occurred, a

finding for plaintiff inexorably leads to the conclusion that the jury found that

defendants effectively perjured themselves. Currently, there is no consensus as to

whether or not this may be relevant to the propriety of a given punitive damages

award. Compare, e.g., Duarte v. St. Barnabas Hosp., 341 F. Supp.3d 306, 330 n.14

(S.D.N.Y. 2018) (doubting that New York law permitted the jury to consider the


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perjurious testimony of a manager in determining whether to award punitive

damages), with Theodat v. City of New York, 2019 U.S. Dist. LEXIS 157274, at *20

(E.D.N.Y. 2019), aff’d on other grounds, 2020 U.S. App. LEXIS 20840 (2d Cir. 2020)

(noting in discussion of reprehensible conduct, “the jury necessarily found that

[defendant] lied about [plaintiff]’s arrest, and the evidence supports a finding that

[defendant] was lying when he testified that he did not remember the events of that

night.”). Nonetheless, that defendants committed perjury underscores the malicious

and deceitful nature of their conduct, which is a factor that the jury can consider in

awarding punitive damages.


      Other aspects of defendants’ comportment during trial, including the use of a

profanity towards plaintiff from the witness stand, see Transcript, at 467:16-468:3,

477:22-488:19, and snickering and laughing during proceedings, see id. at 564:4-16,

also demonstrate a complete lack of remorse and reinforce the propriety of the jury’s

punitive damages awards. See, e.g., United States v. Hylton, 590 F. App’x 13, 19 (2d

Cir. 2014) (summary order) (noting that an award of punitive damages was

appropriate where the defendant “showed no remorse for his conduct,” but rather,

“continued to make discriminatory comments to the….investigator pursuing” the

plaintiff’s claims) (citation omitted); Launders v. Steinberg, 39 A.D.3d 57, 72 (1st

Dep’t 2007) (defendant’s “total lack of remorse” and the “heinous nature of his

assault and battery” were factors relevant to the amount of punitive damages

award); see also Kolstad v. ADA, 527 U.S. 526, 536 (1999) (calling an “indifference

to civil obligations” an example of reprehensible conduct meriting an award of


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punitive damages) (emphasis added) (internal quotation marks and citation

omitted); Francis v. City of New York, 2019 U.S. Dist. LEXIS 197034, at *18-19

(S.D.N.Y. 2019) (noting that “an award of punitive damages is appropriate” if there

is evidence “that the defendant actually derive[d] satisfaction from hurting the

plaintiff…”) (citing Smith v. Wade, 461 U.S. 30 (1983)) (emphasis added) (alteration

in original).


       Finally, in gauging excessiveness, courts “must keep in mind the purpose of

punitive damages: to punish the defendant and to deter him and others from

similar conduct in the future.” Lee, 101 F.3d at 809. The task is “to determine what

amount would be sufficient to punish that particular defendant and deter ‘others of

similar mind.’” Wright, 887 F.3d at 588 (quoting Rupert v. Sellers, 48 A.D.2d 265

(4th Dep’t 1975)). Here, where the compensatory damages award was relatively

modest in comparison to the nature of the injury sustained by plaintiff, where that

award almost certainly will be paid by the State, and not by the defendants, and

where the underlying act is one that often will go undetected in a correctional

facility, a very significant award of punitive damages is necessary to deter the

defendants from engaging in similar conduct in the future. See, e.g., Ciraolo v. City

of New York, 216 F.3d 236, 245 (2d Cir. 2000) (Calabresi, J., concurring) (noting

that “the Supreme Court…[has] acknowledged that in determining such punitive

damages, it is proper to consider the extent to which the tortfeasor might otherwise

escape liability.”), citing Gore, 517 U.S. at 582; Kemezy v. Peters, 79 F.3d 33, 35

(7th Cir. 1996) (Posner, J.) (pointing out that, in order to avoid an award that does


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not “underdeter,” a significant award of punitive damages may be particularly

appropriate when the compensatory damages award is relatively modest, or when

the tortious act is one that the defendant might ordinarily be able to perpetrate

without detection).


                                   CONCLUSION

      For the foregoing reasons, plaintiff respectfully requests that defendants’

motion be denied in its entirety, and that the Court sustain the jury’s verdict and

award of $350,000, $350,000, and $250,000 in punitive damages against defendants

Peralta, Bailey, and Blount, respectively.


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      July 12, 2021
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